Case 2:90-cv-00520-KJM-SCR Document 3145 Filed 10/30/08 Page 1of3

EXHIBIT L
- Print Date 8/20/2008

Case 2;90-cv-005 SaitfaCharR Valog Health Sreb Hospled Syaerns
Department of Alcohol & Drug Services

ALCOHOL & DRUG SERVICES RESEARCH INSTITUTE

SANTA CLARA COUNTY, CALIFORNIA

Episodes of Care for Fiscal Year 2008
July 1, 2007 to June 30, 2008

Prepared by Julie Sizelove

Page 1 of 2

Page 2 of 3

The Department of Drug and Alcohol! Services operates under a continuum of

care model. This enables clients to move from one treatment modality to another based

on level of need. An episode of care occurs when a client moves throughout the system

without a break in treatment.

During fiscal year 2008, 8130 unduplicated clients received treatment services.

Many of these clients received multiple services from various treatment modalities (Le.

outpatient, residential, etc). The average length of stay in treatment ranged from 278

days for AMT to 5 days for alcohol detox. The overall average length of stay was 77

days.

DA&E JS

Table 1. Treatment Services Received in FYO8

Modality | Active Clients (Undupticareay Stes layne
‘Alcohol Detox 914 696 5
Outpatient 7320 6380 87
Residential 2269 1935 38
Heroin Detox 156 136 77
AMT 578 543 278
THU* 1545 1293 5]

Tota 12782 $130 77

*Transitional Housing Units (THUs) are not considered substance abuse treatment.
**Clients were unduplicaled by each modality and then overall between all
modalities, Clients may have received services in multiple modalities. Please note
that the total number of unduplicated clients is not the sum of unduplicated clients

for each modality.

***Length of stay is calculated only for active time in fiscal year 2008,

Episode of Care

Prepared 8/11/08
Garner/ 00162
Print Date 8/40/2008 99.cv-00520-KJM-SCR D

DA&E JS

—
|
!

Le

Jou ent 3145

Filed 10/30/08

Page 3 of

During a treatment episode clients often move from one treaiment modality (e.g.,

residential) to another (e.g.,. outpatient). For the purposes of this report one episode of

care was defined as the time from a client's first admission into treatment to their final

Table 2. Number of Episodes of Care in FY08

‘discharge without a break in treatment over thirty days.

Page 2 of 2
38

Average Length
of Episode for all] Average Length of
Episodes for all Episodes excluding, Modalities Episode without
modalities (#} Detox Sites (#) * (days)** AMT (days)
Total 8213 7816 239 113

*Episodes excluding detox sites excludes episodes thal only consist of admissions to Alcohol or Heroin Detox.

**Modalities included: outpatient, residential, alcohol detox, AMT, heroin detox. This includes the women's
program and the Calworks program within outpatient.

Episodes include clients in a THU, however no unique episode is comprised of

only a THU stay. The length of episode did not include time spent in a THU because

clients in a THU are required to receive outpatient services simultaneously (THUs arc not

considered to be substance abuse treatment).

Episode of Care

Prepared 8/11/08
Garner/ 00163
